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                                   STATEMENT OF FACTS

        Your affiant, Craig Noyes, is a Special Agent for the Federal Bureau of Investigation (FBI),
assigned to the FBI’s Raleigh Resident Agency of the Charlotte Division. Currently, I am tasked
with investigating criminal activity in and around the U. S. Capitol grounds on January 6, 2021.
As a Special Agent, I am authorized by law or by a Government agency to engage in or supervise
the prevention, detention, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of



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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there. 1

                                    TIPSTER INFORMATION

        On January 7, 2021, the FBI received an anonymous tip from the public providing a link
to a YouTube video, and identifying the individuals depicted therein. One of the individuals was
identified as STEPHEN MICHAEL BAKER. The tipster further advised that in the video, the
individuals had made statements indicating they had participated in the events at the Capitol on
January 6, 2021.

       On or about January 12, 2021, a second tipster contacted the FBI to report a post by a
Facebook user identified as “The Pragmatic Constitutionalist” on January 6, 2021, wherein the
account owner claimed to have been at the Capitol building that day. The post included a
screenshot taken from what appeared to be the same YouTube video provided by the first tipster
on January 7, 2021, along with the corresponding YouTube URL. The tipster identified the
individual in the video as the same individual named by the first tipster. The tipster added that
BAKER currently resides in Raleigh, NC.

                          PUBLICLY AVAILABLE YOUTUBE VIDEO

        Law enforcement has reviewed the YouTube video, titled, The Pragmatic Constitutionalist
– Ep. 9: TPC in DC on January 6th, with special guest, Edmund Wright. 2 The video was uploaded
to the YouTube channel, “The Pragmatic Constitutionalist” on January 6, 2021:




                           Figure 1: Screengrab of YouTube video at 00:02.


1
 The affiant is aware of and has complied with the U.S. Department of Justice’s News Media
Policy in consultation and coordination with DOJ’s Policy and Statutory Enforcement Unit. See
AG Order No. 5524-2022; 28 C.F.R. § 50.10 (2022).
2
    The video is no longer publicly available.

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        Upon review of the video, the individual depicted on the viewer’s right in Figure 1, self-
identified as “Steve…The Pragmatic Constitutionalist” (hereinafter BAKER), then identified the
individual to his right (viewer's left) as "Edmund Wright" (hereinafter WRIGHT). In the video,
BAKER and WRIGHT recounted the events that occurred earlier on January 6, 2021. Additionally,
BAKER was depicted in a similar hat he would later identify as wearing on January 6, 2021.

       Beginning at approximately 04:46, while discussing being in the midst of a cloud of tear
gas and pepper spray, WRIGHT related a statement by BAKER in which the latter claimed to have
been “in the first breach inside the Capitol”:

          We separated, so like 45 minutes later I get a text from him [Referring to BAKER], and
          I'm in this sea of humanity and the crowd continues to grow, and it's getting a little angrier..
          uhh and Steve tells me someone's been shot and he doesn't think she's gonna make it... and
          oh btw, he says, "I was in the first breach inside the Capitol.”

          Beginning at approximately 05:30, BAKER claimed to have been inside Nancy Pelosi’s
office:

          Once the crowd started moving in, I went, "I gotta get this too, man.” So I started following
          them into the Cap- and we got in, and it was free reign for the most part inside the building.
          In fact, we even got into.. I-I was in Pelosi's office. I mean we went into Pelosi's office.

At approximately 05:52, BAKER continued on the topic of being in Pelosi’s office:

          The only thing I regret is that I didn't like steal their computers because God knows what
          I could've found on their computers if I'd done that. But by the time I got into Pelosi's office,
          unfortunately there was some damage done.

          As I was exiting Pelosi's office the sign was being busted up into little pieces and people
          were collecting it as souvenirs.

At approximately 21:25, BAKER expressed approval of the vandalization he claimed to have
witnessed in Pelosi’s office:

          Pelosi's office was... ehhh. They got Pelosi's office and you know, it couldn't happen to a
          better deserving bitch.

       At approximately 28:37, BAKER again claimed to have been inside the Capitol, stating, "I
was with hundreds of them as I entered the Capitol myself."

                                  ACTIONS ON JANUARY 6, 2021

       Your affiant reviewed surveillance taken from the United States Capitol Police Closed
Circuit Television system (USCP CCTV) and Metropolitan Police Department Body-Worn
Camera (MPD BWC) depicting BAKER’s actions on January 6, 2021. Additionally, videos



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captured by BAKER during the day also depict portions of his actions while on the restricted
grounds and inside the United States Capitol.




        Figure 2: Screengrab from video provided by BAKER. Gallows circled in yellow.
        In one video as BAKER approached the Capitol around 1:10 p.m.—near a location where
gallows had been constructed—BAKER recorded himself saying, “Look out your windows
bitches, look what’s coming.” See Figure 2.

       BAKER then continued toward the Capitol passing south of the Reflecting Pool, and
passed by the Garfield Monument at approximately 1:16 p.m.




                  Figure 3: USCP CCTV Footage, BAKER is circled in yellow.
        BAKER walked into the restricted perimeter shortly thereafter and continued toward the
Capitol using the Maryland Walkway. At approximately 1:19 p.m. BAKER recorded his approach
toward a double-fence manned police line at the base of the West Plaza. BAKER moved past a
black, damaged, half-fence onto steps leading up to police-positioned bicycle racks and pushed his

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back against that rack. Body-worn camera footage captured BAKER ignored instructions to move
off the steps.




               Figure 4: Body-worn camera footage, BAKER circled in yellow
       BAKER remained on the West Plaza within the mob while he sporadically recorded his
surroundings with his cell phone. BAKER then moved up to the Upper West Terrace, at
approximately 2:16 p.m. See Figure 5.




                Figure 5: USCP CCTV Footage, BAKER is circled in yellow.


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At approximately 2:19 p.m., BAKER entered the United States Capitol through the broken Senate
Wing Door.




                 Figure 6: USCP CCTV Footage, BAKER is circled in yellow.
       BAKER travelled south into the Crypt and continued into the Memorial Door corridor.
BAKER ascended stairs and walked into the Rotunda. BAKER then moved into Statuary Hall and
toward the House Chamber itself. BAKER joined the mob at the barricaded doors to the House
Chamber at approximately 2:37 p.m.




                 Figure 7: USCP CCTV Footage, BAKER is circled in yellow.

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        BAKER remained within this connecting corridor for approximately 10 minutes. At that
point, tear gas is deployed to disperse the crowd. BAKER moves through the gas and walked east
toward a new police line being formed.




                  Figure 8: USCP CCTV Footage, BAKER is circled in yellow.
Officers attempted to keep BAKER on the other side of a door jamb, but instead of heeding their
instructions BAKER antagonized them. BAKER repeatedly asked, “Are you going to use that
[gun] on us?!” BAKER eventually moved past these officers and took stairs down to the first floor.
The remaining members of this crowd are pushed back down toward the House Chamber entrance.

        BAKER moved toward the Hall of Columns where he was then led out of the Capitol by
an officer with the United States Capitol Police.




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                  Figure 9: USCP CCTV Footage, BAKER is circled in yellow.
BAKER left the building at approximately 2:56 p.m. BAKER was inside the building for
approximately 37 minutes.

       Once outside the building, BAKER moved to the East Front. From the exterior steps to the
House of Representatives, BAKER narrated: “But uhh, I don’t think she’s going to make it. Now
they’ve announced a curfew for D.C. from six to six . . . I don’t think it’s going to happen. I think
that uhh, we may have just seen the true first shot in this war.” BAKER later continued: “They
came in heavy man, we got to the House, uhh, door. The House of Representatives entrance. They
came in hardcore. Automatic rifles. Everything. It’s an amazing situation out here.” BAKER then
walked back up the steps toward the exterior door. See Figure 10.




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                 Figure 10: USCP CCTV Footage, BAKER is circled in yellow.
BAKER moved back down those steps and walked to the foot of the East Rotunda Steps before
finally leaving the grounds.

                       PUBLICLY AVAILABLE FACEBOOK POSTS

         BAKER was interviewed by a local news channel in the aftermath of the Capitol Riot. FBI
subsequently located the video titled, Eye-witness account from inside the Capitol riots, posted on
January 7, 2021, to the Facebook page “WUSA 9,” in which video footage from inside the Capitol
is attributed to “Steve Baker,” and was broadcast during a WUSA 9 news segment:




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                      Figure 11: Screengrab from WUSA9 Facebook page
Beginning at approximately 00:29 (MM:SS), the news segment included an interview with the
individual who ostensibly captured the above-referenced footage, identified by the interviewer as
“Steve Baker”:




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         Figure 12: Screengrab from interview of the individual named “Steve Baker.”


        During the interview, BAKER stated, “Yeah I was quite excited to see this going on,” and
stated, “Do I approve of what happened today? I approve 100%.” BAKER further estimated the
number of individuals inside Nancy Pelosi’s office as “anywhere from 20 to 30 at the time that I
got there,” then related how demonstrators tore off a sign in or near the office and broke it into
pieces for souvenirs.

        On January 9, 2021, the following image was posted to “The Pragmatic Constitutionalist”
Facebook account, accompanied by a comment wherein the writer self-identified as “the guy in
the middle wearing a backpack with a camera tripod protruding from the top, walking into a cloud
of tear gas. That is me.”:




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        Figure 13: Screengrab from “The Pragmatic Constitutionalist” Facebook page.


        The above-referenced post further stated, “And no, that’s not a red MAGA hat. That’s my
Yorktown, VA cap that can be seen in the recap video I posted late Wednesday evening (url:
https://youtu.be/wtiqcfARRX4). Of note, this URL corresponds to the previously mentioned
YouTube video, The Pragmatic Constitutionalist – Ep. 9: TPC in DC on January 6th, with special
guest, Edmund Wright depicted in Figure 1.

         On February 10, 2021, FBI reviewed video footage captured by a separate individual inside
the Capitol building and posted to Facebook on January 7, 2021. Beginning at 23:34 (MM:SS), on
the left hand-side of the foreground, STEPHEN MICHAEL BAKER is visible wearing the same
“Yorktown, VA” ball cap captured in the above Facebook postings and YouTube video:




               Figure 14: Opensource Video showing BAKER inside the Capitol.

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        Based on the above-referenced tips and social media and internet posts, the FBI conducted
public database queries for STEVEN MICHAEL BAKER in “North Carolina,” noting one return
for an individual named “STEPHEN MICHAEL BAKER.” Subsequent query of North Carolina
Department of Motor Vehicle (DMV) records for the above-referenced individual returned what
appeared to be a photographic match for the individual identified as BAKER by himself and the
tipsters in the YouTube video. Moreover, the person in the DMV photograph and the YouTube
video appears to be the same person seen inside the U.S. Capitol in video recorded on January 6,
2021.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
STEPHEN MICHAEL BAKER (BAKER) violated 18 U.S.C. § 1752(a)(1) and (2), which makes
it a crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do so; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of
Government business or official functions, engage in disorderly or disruptive conduct in, or within
such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,
impedes or disrupts the orderly conduct of Government business or official functions, or attempts
or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that BAKER violated 40 U.S.C.
§ 5104(e)(2), which makes it a crime to willfully and knowingly (D) utter loud, threatening, or
abusive language, or engage in disorderly or disruptive conduct, at any place in the Grounds or in
any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a
session of Congress or either House of Congress, or the orderly conduct in that building of a
hearing before, or any deliberations of, a committee of Congress or either House of Congress; and
(G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                      _________________________________
                                                      CRAIG NOYES, SPECIAL AGENT
                                                      FEDERAL BUREAU OF
                                                      INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 21st day of February 2024.
                                                                             2024.02.21
                                                                             11:41:08 -05'00'
                                                      ___________________________________
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE


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